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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                  GAINESVILLE DIVISION

             CHRISTY M. KENT,                       :
                                                    :
                   Plaintiff,                       :
                                                    :
                   v.                               :     CIVIL ACTION NO.
                                                    :     2:14-CV-292-RWS
             WAGNER SERVICE                         :
             SOLUTIONS, INC. and ASHLEY             :
             THOMPSON,                              :
                                                    :
                   Defendants.                      :

                                                ORDER

                   This case comes before the Court on Defendant Wagner Service

             Solutions’ Motion to Dismiss [14]. After reviewing the record, the Court

             enters the following Order.

                                              Background

                   Plaintiff Christy M. Kent (“Plaintiff”) filed a Complaint alleging that

             Defendant Wagner Service Solutions, Inc. violated the Fair Labor Standards

             Act (“FLSA”), 29 U.S.C. § 201 et seq., by denying Plaintiff overtime

             compensation and retaliating against her when she requested due but unpaid

             compensation. (Compl., Dkt. [1], ¶¶ 1–2.)

                   Plaintiff has been employed by Defendant Wagner Service Solutions,


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             Inc. (“Defendant”) since June 10, 2013. (Id. ¶ 6.) In addition to Defendant,

             Plaintiff names Ashley Thompson, one of her supervisors, as a defendant in her

             Complaint. Plaintiff alleges that her work for Defendant is non-exempt under

             the FLSA, meaning that it is eligible for overtime compensation. (Id. ¶ ¶

             23–40.) Plaintiff alleges that when she was hired, her supervisors instructed

             her to record no more than forty hours per week on her time sheets. (Id. ¶ 46.)

             Her supervisors said they would privately track Plaintiff’s overtime work and

             compensate her with time off. (Id. ¶¶ 47–48.) Plaintiff alleges from June 10,

             2013 to the present, Defendant has never paid Plaintiff overtime compensation.

             (Id. ¶ 53.)

                    On November 12, 2014, Plaintiff requested that Defendant compensate

             her for overtime work. (Id. ¶ 61.) Upon her request, Plaintiff’s supervisors

             reviewed security camera records and found that Plaintiff had worked more

             than thirty-nine hours overtime, for which she had not been compensated. (Id.

             ¶¶ 65–66.) Plaintiff alleges that her supervisors agreed to give Plaintiff

             overtime compensation on the condition that Plaintiff sign a document stating

             that she had falsified her time sheets. (Id. ¶¶ 73–74.) Plaintiff refused to sign

             the document. (Id. ¶ 77.) After the meeting, Defendant took disciplinary

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             action against Plaintiff, demanded that she surrender her office keys and

             company cell phone, and suspended her indefinitely without pay. (Id. ¶ 94.)

                    Defendant now moves to dismiss Plaintiff’s Complaint on the grounds

             that it fails to state a claim.

                                                  Discussion

             I.     Legal Standard

                    When considering a Federal Rule of Civil Procedure 12(b)(6) motion to

             dismiss, a federal court is to accept as true “all facts set forth in the plaintiff’s

             complaint.” Grossman v. Nationsbank, N.A., 225 F.3d 1228, 1231 (11th Cir.

             2000) (citation omitted). Further, the court must draw all reasonable inferences

             in the light most favorable to the plaintiff. Bryant v. Avado Brands, Inc., 187

             F.3d 1271, 1273 n.1 (11th Cir. 1999); see also Bell Atl. Corp. v. Twombly, 550

             U.S. 544, 555-56 (2007) (internal citations omitted). However, “[a] pleading

             that offers ‘labels and conclusions’ or ‘a formulaic recitation of the elements of

             a cause of action will not do.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

             (quoting Twombly, 550 U.S. at 555). “Nor does a complaint suffice if it

             tenders ‘naked assertion[s]’ devoid of ‘further factual enhancement.’” Id.

                    The United States Supreme Court has dispensed with the rule that a

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             complaint may only be dismissed under Rule 12(b)(6) when “‘it appears

             beyond doubt that the plaintiff can prove no set of facts in support of his claim

             which would entitle him to relief.’” Twombly, 550 U.S. at 561 (quoting

             Conley v. Gibson, 355 U.S. 41, 45-46 (1957)). The Supreme Court has

             replaced that rule with the “plausibility standard,” which requires that factual

             allegations “raise the right to relief above the speculative level.” Id. at 556.

             The plausibility standard “does not[, however,] impose a probability

             requirement at the pleading stage; it simply calls for enough facts to raise a

             reasonable expectation that discovery will reveal evidence [supporting the

             claim].” Id.

             II.    Analysis

                    In its Motion to Dismiss, Defendant argues that Plaintiff’s Complaint

             fails to meet the pleading standard set out in Bell Atlantic Corp. v. Twombly

             and Ashcroft v. Iqbal. (Def.’s Mot. to Dismiss Compl. (“Def.’s Mot. to

             Dismiss”), Dkt. [14] at 3–5.) Defendant also argues that Plaintiff’s Complaint

             neither sufficiently alleges nor factually substantiates the elements of an FLSA

             claim for inadequate compensation. (Id. at 5.) Specifically, Defendant argues

             that the Complaint does not contain sufficient evidence to show the amount and

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             extent of Plaintiff’s uncompensated overtime work. (Id. at 6.)

                   Defendant acknowledges a split of authority regarding the FLSA

             pleading standard, and relies on Dyer v. Lara’s Trucks, Inc. and Rance v.

             Rocksolid Granit USA, Inc. as persuasive authority to support the merits of its

             Motion to Dismiss. (Def.’s Reply to Pl.’s Resp. to Def’s Mot. to Dismiss

             (“Def.’s Reply”), Dkt. [17], 6–8.) In Dyer v. Lara’s Trucks, Inc., the Eleventh

             Circuit concluded that a motion to dismiss is an appropriate vehicle for testing

             the sufficiency of the factual allegations supporting an FLSA collective action.

             2013 WL 609307 at *4 (N.D. Ga. Feb. 19, 2013). But Dyer does not apply to

             the present case because Plaintiff has not brought a FLSA collective action

             before the Court. Furthermore, Plaintiff’s Complaint identifies sufficient

             factual allegations to support her FLSA claim for inadequate compensation.

                   In Rance v. Rocksolid Granit USA, Inc., the Eleventh Circuit concluded

             that a plaintiff-employee had not established a prima facie case for an FLSA

             inadequate compensation claim because the employee had not shown, as a

             matter of just and reasonable inference, the amount and extent of his work. 292

             F. App’x 1, 1 (11th Cir. 2008). To support his claim, the employee included a

             single email exchange in his complaint. In the exchange, the employee asked

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             his supervisor when he would be compensated for work done on a certain date.

             Id. His supervisor responded, saying he would look into the matter and asking

             how many hours the employee worked that day. Id. The employee did not

             respond. Id. From the email exchange, the Eleventh Circuit could not justly or

             reasonably infer that the employee had worked overtime at all. Id.

                   Unlike in Rance, where the plaintiff-employee provided no evidence of

             the amount and extent of his work, Plaintiff in the present case supports her

             claim by stating in her Complaint that she has worked at least thirty-nine hours

             within the past two years, for which she is owed overtime compensation.

             Requiring any additional corroborating evidence misconstrues the pleading

             standard. Requiring significantly greater specificity regarding Plaintiff’s hours

             places an impermissibly high burden of proof on Plaintiff.

                   At the motion to dismiss stage, a plaintiff’s complaint is sufficient if it

             identifies enough facts, taken as true, to raise a reasonable expectation that

             discovery will reveal evidence of the necessary elements of the plaintiff’s

             claim. Watts v. Florida Int'l Univ., 495 F.3d 1289, 1295-96 (11th Cir. 2007)

             (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007)). In the present

             case, Plaintiff’s claim is that Defendant violated FLSA by denying Plaintiff

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             overtime wages. (Compl., Dkt. [1] ¶ 1.) The Court now reviews the necessary

             elements of that claim in order to assess whether Plaintiff’s Complaint raises a

             reasonable expectation that discovery will reveal those elements.

                   Ultimately, Plaintiff bears the burden of proof on the issue of whether

             she worked overtime without compensation. Allen v. Bd. of Pub. Educ., 495

             F.3d 1306, 1314 (11th Cir. 2007) (citing Anderson v. Mt. Clemens Pottery,

             Inc., 328 U.S. 680, 687 (1946), superceded by statute on other grounds). But

             Plaintiff’s allegations indicate that she cannot prove exactly how many

             uncompensated overtime hours she worked because Defendant instructed her to

             record no more than forty hours per week on her time sheets. (Compl., Dkt. [1]

             ¶ 46.) “[W]here the employer’s records are inaccurate or inadequate and the

             employee cannot offer convincing substitutes,” the plaintiff discharges his

             burden by proving two elements. Allen, 495 F.3d at 1314. First, the plaintiff

             must prove “that he has in fact performed work for which he was improperly

             compensated.” Id. Second, in lieu of accurate time sheets, the plaintiff must

             produce “sufficient evidence to show the amount and extent of that work as a

             matter of just and reasonable inference.” Id.

                   In her Complaint, Plaintiff alleges that her supervisors reviewed security

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             camera records and determined that Plaintiff was entitled to pay for more than

             thirty-nine hours of overtime. (Compl., Dkt. [1] ¶ 65–66.) These facts, which

             the Court must take as true on a Motion to Dismiss, raise a reasonable

             expectation discovery in this case will allow Plaintiff to meet her burden of

             proof. First, the facts as alleged demonstrate that Plaintiff performed work for

             which she was improperly compensated. Second, the Court can reasonably

             infer from the facts that Plaintiff has worked at least thirty-nine uncompensated

             overtime hours since her date of hire, June 10, 2013. Thus, the Court finds that

             Plaintiff has pled sufficient facts to give Defendant notice of the claims against

             it and enough details to allow an investigation of the claims asserted.

             Accordingly, Defendant’s Motion to Dismiss [14] must be DENIED.

                                                Conclusion

                   For the foregoing reasons, Defendants’ Motion to Dismiss [14] is

             DENIED.

                   SO ORDERED, this 1st day of June, 2015.



                                                         ________________________________
                                                         RICHARD W. STORY
                                                         United States District Judge

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